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                          UNITED STATES DISTRICT COURT

                                 DISTRICT OF OREGON

                                 PORTLAND DIVISION

FEDERAL TRADE COMMISSION,                          Case No.: 3:24-cv-00347-AN
STATE OF ARIZONA,
STATE OF CALIFORNIA,
DISTRICT OF COLUMBIA,                              PLAINTIFFS’ MOTION TO STRIKE
STATE OF ILLINOIS,                                 UNTIMELY AND IMPROPER
STATE OF MARYLAND,                                 REPORTS OF DR. MARK ISRAEL
STATE OF NEVADA,
STATE OF NEW MEXICO,
STATE OF OREGON, and
STATE OF WYOMING,

Plaintiffs,

v.

THE KROGER COMPANY and
ALBERTSONS COMPANIES, INC.,

Defendants.




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                        CERTIFICATION PURSUANT TO LR 7-1(a)(1)

        Plaintiffs have conferred with Defendants regarding this motion, and Defendants oppose

the relief sought herein. The parties jointly request that Defendants’ response to this motion be

due on August 5, 2024.

                                             MOTION

        Plaintiffs move to strike two untimely and improper reports of Defendants’ economist,

Dr. Mark Israel. In its Case Management and Scheduling Order (“Scheduling Order,” ECF 88),

the Court set a July 1, 2024, deadline for Defendants to serve their expert reports. The Court

also set the close of all expert discovery for July 22, 2024. Notwithstanding these deadlines,

Defendants served a second “corrected” report of Dr. Israel on July 20, 2024—nineteen days

late—which contains significant changes to Dr. Israel’s initial analysis (“Second Corrected

Report”). Further, on July 30, 2024, well after Dr. Israel’s deposition and the close of expert

discovery and less than a month before the start of the evidentiary hearing, Defendants also

served a “surrebuttal” report containing completely new opinions and analysis (“Israel

Surrebuttal”). The Court should exclude these reports because they are untimely and improper

under the applicable rules and the Court’s orders, unjustified in their delay, and unfairly

prejudicial to Plaintiffs.

I.      FACTUAL BACKGROUND

        Defendants first served Dr. Israel’s expert report on July 1, 2024, in rebuttal to Plaintiffs’

expert reports served June 18, in accordance with the Court’s Scheduling Order. See Scheduling

Order at 18. On July 8, Defendants served a corrected version of Dr. Israel’s report, addressing

an error in one of his models, and changing certain of his results. Defendants requested, and

Plaintiffs accepted, a deposition after the close of expert discovery in the administrative

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proceeding to accommodate Dr. Israel’s travel schedule and an illness. Plaintiffs ultimately

agreed to schedule Dr. Israel’s deposition on July 22, the last day for expert discovery in the case

at bar.

          The day after Dr. Israel’s originally scheduled deposition date, late in the evening of

Saturday, July 20, approximately 36 hours before Dr. Israel’s delayed deposition and without

seeking leave from either this Court or the administrative law judge, Defendants produced the

Second Corrected Report, which they described as another “errata and corrected report” from Dr.

Israel. Pai Dec., Ex. A at 4.1 But in fact, the Second Corrected Report included significant

substantive changes for Plaintiffs to review, including revised analysis, materially different

substantive results, and a new tranche of backup data, produced the following day, Sunday, July

21. See Pai Dec. Ex. A at 2, Ex. B. For example, Dr. Israel’s “corrections” dramatically reduce

by more than 50% the number of store-based local markets where he finds that the proposed

acquisition would result in presumptively unlawful concentration levels and changes in

concentration. See Pai Dec., Ex. B ¶ 139 & T.6 (supermarkets); id. ¶ 180 & T.10 (large format

stores). Plaintiffs objected to Defendants’ out-of-time revisions, but nonetheless proceeded with

Dr. Israel’s deposition and attempted to probe these newly-disclosed analyses to the extent

possible, given the few weekend hours permitted by Defendants’ late disclosure.

          Defendants disclosed yet another report ten days later. On July 30, a week after Dr.

Israel’s deposition and the close of expert discovery, and after the Court’s expert tutorial,

Defendants served the Israel Surrebuttal. Pai Dec., Ex. C. Once again, this report was served

without first seeking leave from either court and with no advance notice to Plaintiffs. The Israel



1
 “Pai Dec.” refers to the Declaration of Rohan Pai in Support of Plaintiffs’ Motion to Strike
Untimely and Improper Reports of Dr. Mark Israel, submitted herewith.
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Surrebuttal report does not claim to be a correction or a revision to a prior analysis; instead, it

presents the results of a new event study Dr. Israel performed purporting to rebut a specific

opinion contained in Plaintiffs’ expert’s July 12 Reply Report. See Pai Dec., Ex. D ¶¶ 3-8; see

also Pai Dec., Ex. E at 304-05 (Dr. Israel testifying that he had conducted “three things that [he]

would describe as actual additional analysis as opposed to just thinking through what [Plaintiffs’

expert Dr. Hill] said”). Like the Second Corrected Report, the Surrebuttal came with a new

submission of backup data for Plaintiffs to review. See Pai Dec., Ex. C at 1.

II.      ARGUMENT

         A.     The Court Should Strike Dr. Israel’s Surrebuttal as Improper and Untimely

         The Court should strike the Israel Surrebuttal because it is not permitted under the

applicable rules or the Court’s Scheduling Order, it is untimely, and allowing the Surrebuttal

would prejudice Plaintiffs in their preparation for the evidentiary hearing now less than a month

away.

         “Courts have generally agreed that Rule 26 does not contemplate surrebuttal reports.”

PUMA SE v. Brooks Sports, Inc., No. 2:23-CV-00116-LK, 2024 WL 2091382, at *4 (W.D.

Wash. May 9, 2024) (collecting cases). This Court’s Scheduling Order does not provide for

surrebuttal reports, and rather it allows specifically and only for (1) Plaintiffs’ initial expert

reports to be served June 18, (2) Defendants’ rebuttal expert reports to be served July 1, and (3)

Plaintiffs’ reply/rebuttal expert reports to be served July 12. Scheduling Order at 18. Further,

the Court set the close of all expert discovery for July 22. Id. The Israel Surrebuttal, served July

30, thus is unauthorized by rule or order, and was served well after the deadline for the close of

expert discovery.


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       Even where courts have exercised their discretion to allow a surrebuttal report, the

proponent must first seek leave from the court. PUMA SE, 2024 WL 2091382, at *4 (collecting

cases); accord, e.g., Coward v. Forestar Realty, Inc., 282 F. Supp. 3d 1317, 1331 (N.D. Ga.

2017) (excluding surrebuttal filed without leave of court). Because Defendants failed to seek

leave for a surrebuttal report and served the Israel Surrebuttal after the close of expert discovery,

Federal Rule of Civil Procedure 37(c)(1) provides that the appropriate and default remedy is to

strike the Israel Surrebuttal. Fed. R. Civ. P. 37(c)(1); see also, e.g., PUMA SE, 2024 WL

2091382, at *2 (citing Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259 F.3d 1101, 1106 (9th

Cir. 2001)); Consultus, LLC v. CPC Commodities, No. 19-CV-00821-FJG, 2023 WL 5827222, at

*8 (W.D. Mo. Mar. 29, 2023) (striking surrebuttal served without leave of court and after close

of discovery).

       Defendants may argue that the Court should belatedly grant them leave to serve a

surrebuttal report. To do so, however, Defendants would first be required to show that their

disregard for the Court’s Scheduling Order and rules was “substantially justified or harmless.”

Puma SE, 2024 WL 2091382, at *4 (quoting Merchant v. Corizon Health, 993 F.3d 733, 740

(9th Cir. 2021)). Defendants cannot satisfy either prong of this analysis.

       First, Defendants have not even attempted to justify why they waited until 18 days after

Plaintiffs’ rebuttal reports,2 or 8 days after Dr. Israel’s deposition and the close of expert

discovery, to serve the Israel Surrebuttal. Nor could they: the topic of the Israel Surrebuttal is

the margins Defendants earn from grocery sales, which are an input into commonly used

economic methodologies used to model the likely competitive effects of mergers between



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  It bears noting that the Scheduling Order provided Plaintiffs with just 12 days to serve their
replies to Defendants’ July 1st rebuttal expert reports. Scheduling Order at 18.
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competitors and were already addressed in the prior reports of both sides. Indeed, Dr. Israel both

criticized the Plaintiffs’ expert’s margin calculations and presented evidence in support of his

own margin calculations in his July 1 rebuttal report. Pai Dec., Ex. F ¶ 244 & n.286. Nor is this

a situation where the Surrebuttal can be justified by a need to analyze new information or data

that recently came to light. To the contrary, Dr. Israel relies upon Defendants’ own data

covering the period from approximately October 2020 to October 2021, Pai Dec., Ex. D ¶¶ 6-7 &

n.11; this data has long been known and available to both the Defendants and Dr. Israel since the

beginning of the FTC’s investigation. Indeed, Dr. Israel had apparently already completed this

analysis at the time of his July 22 deposition, but was waiting for direction from Defendants

about whether to disclose his analysis to Plaintiffs. Pai Dec., Ex. E at 304-07.

       Second, Defendants’ disregard for the Scheduling Order and the Rules is not harmless.

Less than one month now remains for Plaintiffs to prepare for the evidentiary hearing. Dr. Israel

has already been deposed and the deadline for expert depositions has passed. Under these

circumstances, Plaintiffs will be unable to effectively probe the foundations of Dr. Israel’s new

and late-breaking opinions. Nor is it a solution to simply allow another deposition of Dr. Israel.

Preparing for and conducting an additional expert deposition would impose unnecessary costs

and divert Plaintiffs’ resources less than a month before the evidentiary hearing begins. An

additional deposition would require several days—and costly hours—of expert analysis to

understand and probe the nature of Dr. Israel’s novel work.

       Additionally, Plaintiffs do not have access to the relevant materials necessary to properly

examine the opinions in Dr. Israel’s Surrebuttal report. Dr. Israel relies upon expert reports

submitted by the states of Colorado and Washington in their respective challenges to the

proposed transaction (the “Dua Reports”) along with his own reports in those actions. Pai Dec.,

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Ex. D nn.7-8. Plaintiffs do not have the backup to the Dua reports, Dr. Israel’s reports in the

Colorado and Washington actions, or much of the other discovery produced in the those

proceedings. Pai Dec. ¶ 10. And while the Court’s Scheduling Order contemplates overlapping

discovery between this matter and the Part 3 administrative proceeding, Scheduling Order ¶ 16, it

provides no similar allowance for Defendants to import hand-picked evidence from different

proceedings to which Plaintiffs here are not parties. Regardless, analyzing the data and analysis

in reports from those separate actions would impose tremendous costs on Plaintiffs—both in

time and in expert expenses—at a time when Plaintiffs should be preparing for the preliminary

injunction hearing based on the record in this matter.

       In similar situations, courts have recognized that simply allowing the harmed party to

depose an expert does not cure a failure to comply with the rules governing disclosure of expert

opinions. E.g., Puma SE, 2024 WL 2091382, at *4; Rhodes v. Energy Marine LLC, No. CV-14-

08206-PCT-JJT, 2016 WL 8199310, at *6-7 (D. Ariz. Sept. 19, 2016). “Discovery deadlines are

set ‘to permit the court and the parties to deal with cases in a thorough and orderly manner,’ . . .

and this goal would be frustrated if surrebuttals were permitted without leave and without respect

to their effect on the case schedule and on the time and resources of the opposing party.” Puma

SE, 2024 WL 2091382, at *4 (quoting Wong v. Regents of Univ. of California, 410 F.3d 1052,

1062 (9th Cir. 2005)). Because “[d]isruption to the schedule of the court and other parties in that

manner is not harmless,” Wong, 410 F.3d at 1062, the Court should strike the Israel Surrebuttal.

See Fed. R. Civ. P. 37(c)(1).

       B.      Dr. Israel’s Second Corrected Report Is Likewise Improper

       The Court should also exclude the opinions expressed in Dr. Israel’s Second Corrected

Report. Though Rule 26(e) allows under certain circumstances for a party to correct or

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supplement an earlier disclosure, changes must be made “in a timely manner.” Fed. R. Civ. P.

26(e)(1)(A). Further, particularly with respect to expert reports, the ability to correct or

supplement “is not an excuse to rewrite an expert report or present new opinions.” Coward, 282

F. Supp. 3d at 1329. Because Defendants failed to provide the Second Corrected Report in a

timely manner and have used it to present new analyses, they should not be permitted to rely on

Dr. Israel’s new opinions and analyses in their late addition.

       First, Defendants have delayed in providing the Second Corrected Report well beyond

the timelines for expert reports and responses in the Court’s Scheduling Order. The deadline for

Defendants to provide their final rebuttal reports under the Scheduling Order was July 1.

Defendants first served Dr. Israel’s rebuttal report on July 1, then provided a “corrected” version

on July 8. On July 20, they provided the Second Corrected Report, this time containing

significant changes to Dr. Israel’s opinions. Defendants provided their Second Corrected Report

more than a month after Plaintiffs’ June 18 report to which it responds. In contrast, the

Scheduling Order allowed Plaintiffs only 12 days—until July 12—to reply to Dr. Israel’s initial

conclusions. Defendants therefore have allotted themselves far more time than allowed for

responsive expert reports elsewhere in the Scheduling Order. Further, by delaying until well

after the July 12 deadline for Plaintiffs’ response to Dr. Israel’s report, Defendants have deprived

Plaintiffs of the opportunity to address Dr. Israel’s new opinions in their own reports.

       Defendants’ delay in providing the Second Corrected Report also runs afoul of the

Scheduling Order’s provisions relating to expert depositions. Paragraph 10 of the Scheduling

Order provides that the parties “shall not produce any expert report, report amendment, . . . or

similar document less than seven calendar days prior to [the expert’s] deposition.” By providing

the Second Corrected Report just two days before Dr. Israel’s July 22 deposition, Defendants

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have violated paragraph 10 of the Scheduling Order. Defendants have provided no justification

for their disregard of the Scheduling Order, nor have they provided any explanation for why they

needed over a month to fully respond to Plaintiffs’ June 18 expert reports. The Court thus should

strike the Second Corrected Report as untimely under Rule 26(e)(1)(A). See Fed. R. Civ. P.

37(c)(1).

       Second, the Court should strike the Second Corrected Report because it does more than

merely correct aspects of Dr. Israel’s prior report. Rather, it contains significant new opinions

and analyses based on information that was available at the time Dr. Israel prepared his initial

report, including considerable revisions to the number of store-based local markets where he

finds that the proposed acquisition would result in presumptively unlawful market concentration.

See generally Pai Dec., Ex. B. Courts should and do reject attempts to add to and revise reports

when there is no new information revealed during the course of discovery that rendered the

original opinion incorrect. E.g., Beller ex rel. Beller v. United States, 221 F.R.D. 696, 700-02

(D.N.M. 2003). Where, as here, a party seeks to misuse a revised report to strengthen or deepen

opinions expressed in the initial report, the new report is beyond the scope of correction or

supplementation allowed under Rule 26(e), and should be excluded under Rule 37(c)(1). K&N

Eng’g, Inc v. Spectre Performance, No. EDCV091900VAPDTBX, 2011 WL 13131157, at *6-9

(C.D. Cal. May 12, 2011) (citing Yeti by Molly, Ltd., 259 F.3d at 1107, and Beller, 221 F.R.D. at

701-02).

       C.    The Late Israel Reports Should Be Stricken Because They Were Not
       Properly Provided in the Administrative Proceeding

       The Israel Surrebuttal and Second Corrected Report should be excluded for another

reason: they were not properly provided in the administrative proceeding. The principal task


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before this Court is to determine the FTC’s likelihood of success in the underlying administrative

proceeding. E.g., FTC v. Warner Commc’ns Inc., 742 F.2d 1156, 1159-60 (9th Cir. 1984). In

the administrative proceeding, an “expert witness’s testimony is limited to opinions contained in

the expert report that has been previously and properly provided to the opposing party.” Pai

Dec., Ex. G ¶ 24 (administrative proceeding scheduling order). Because Defendants failed to

receive leave from the administrative law judge before producing these two out-of-time expert

reports, the administrative scheduling order prevents Dr. Israel from testifying to the opinions

therein. Dr. Israel’s inadmissible opinions therefore will not aid this Court in evaluating the

FTC’s likelihood of success.

       As in the case at bar, the scheduling order in the administrative proceeding established a

July 1 deadline for Defendants to serve their expert reports—including “rebuttal, if any, to

Complaint Counsel’s expert witness reports.” Pai Dec., Ex. G at 3. The administrative

scheduling order set a July 18 deadline for expert depositions and the exchange of expert-related

exhibits. Id. at 4. That order also clearly provided that if Defendants wished to submit a

surrebuttal report, they should have sought relief from the administrative law judge. Id. at 4;

accord 16 C.F.R. § 3.31A(a) (listing “seeking . . . leave to submit a surrebuttal report” as relief

available to respondents/defendants).

       Defendants provided the Second Corrected Report and the Israel Surrebuttal after the

deadline for their expert reports and after the deadline for expert depositions and the exchange

for expert-related exhibits in the administrative proceeding. Defendants did not seek leave from

the administrative law judge to submit a surrebuttal report or otherwise submit untimely reports.

Pai Dec. ¶ 9. The scheduling order in the administrative proceeding thus prevents Dr. Israel

from testifying to his opinions in those reports. Because this Court’s role is to assess the FTC’s

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likelihood of success in the administrative proceeding, Dr. Israel’s opinions and reports that are

not properly before the administrative law judge do not assist this Court in its task, confirming

that exclusion of the contested material is a reasonable remedy to Defendants’ failure to comply

with expert discovery rules and orders in the case at bar.3

III.     CONCLUSION

         For the foregoing reasons, Plaintiffs ask the Court to strike the Israel Surrebuttal and

Second Corrected Report and preclude Dr. Israel from testifying to opinions reflected in those

reports.


    Dated: August 2, 2024                    Respectfully submitted,

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3
 Plaintiff Federal Trade Commission plans to soon file a similar motion to strike in the
administrative proceeding.
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